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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 MARIA PIZARRO,

 Plaintiff/Counter Defendant,                                        Case No.: 20-cv-5783 (AKH)

                        -against-
                                                                     NOTICE OF MOTION
 EUROS EL TINA RESTAURANT LOUNGE AND
 BILLIARDS CORP. et al,

 Defendants/Counterclaimants/Third Party Plaintiffs,

                         -against-

 JOSE E CASTRO et al,

 Third Party Defendants/Counter Defendants


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       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, Rule 56.1

Statement of Material Facts, and Affirmation of Jesse C. Rose, dated April 27, 2024, the

undersigned, on behalf of Third Party Defendants/Counter Defendants Jose Castro and Eladio

Castro Productions Inc. will move this Court at the United States District Court, Southern District

of New York, 500 Pearl Street, New York New York 1007, on a date and time to be assigned by

the Court for an Order (1) pursuant to FRCP 56 awarding Judgment as a Matter of Law dismissing

the claims asserted by Defendants/Counterclaimants/Third Party Plaintiffs against the movant, and

(2) pursuant to FRCP 11 for sanctions against Defendants’ counsel for pursuing known frivolous

claims even after being served with a safe harbor letter, along with what just and further relief the

Court deems appropriate.
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Dated: Astoria, New York
       April 17, 2024
                                               THE ROSE LAW GROUP PLLC

                                               _/s/Jesse C. Rose__________
                                               Jesse C. Rose, Esq.
                                               Attorney for Third Party Defendants
                                               The Rose Law Group PLLC
                                               32-72 Steinway Street; Suite 503
                                               Astoria, NY 11103
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